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2
     Sacramento, CA 95814
3    (916) 447-1920
     Mike.Long.Law@msn.com
4
                              IN THE UNITED STATES DISTRICT COURT
5
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
6
     THE UNITED STATES OF AMERICA,    ) No. CR 13-103 MCE
7                    Plaintiff,       )
                                      ) STIPULATION MODIFYING
8
          v.                          ) PRE-TRIAL RELEASE CONDITIONS
9
                                      )
     LEONA YEARGIN,                   )
10                   Defendant.       )
     ================================) Judge: Hon. Kendall J. Newman
11

12
            TO: BENJAMIN WAGNER, U.S. Attorney, TODD PICKLES, Assistant U.S. Attorney:

13          Defendant LEONA YEARGIN, by and through his attorney, Michael D. Long, and the
14   Government, by and through its attorney, Todd Pickles, stipulate as follows:
15
            Pre-trial services officer Tai Gaskins has concluded that defendant LEONA YEARGIN is
16
     in need of counseling for a number of reasons. We jointly request the court to add the following
17
     condition to her pre-trial release conditions: “You shall participate in a program of medical or
18

19   psychiatric treatment, including treatment for drug or alcohol dependency, as approved by the

20   pretrial services officer. You shall pay all or part of the costs of the counseling services based
21
     upon your ability to pay, as determined by the pretrial services officer.”
22
            All other conditions of release remain in full force and effect.
23
     Dated: July 24, 2014                                  Respectfully submitted,
24

25                                                         /s/ Michael D. Long__________
                                                           MICHAEL D. LONG
26                                                         Attorney for Ms. Yeargin
27

28   Dated: July 24, 2014



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1                                       BENJAMIN WAGNER
                                        United States Attorney
2

3
                                        /s/ Todd Pickles ____
4                                       TODD PICKLES
                                        Assistant U.S. Attorney
5
                                        Signed by Mr. Long with the permission
6                                       of Mr. Pickles

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                              IN THE UNITED STATES DISTRICT COURT
5
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
6
     THE UNITED STATES OF AMERICA,                   ) No. CR-13-103 MCE
7                    Plaintiff,                      )
                                                     ) ORDER
8
            v.                                       )
9
                                                     )
     LEONA YEARGIN,                                  )
10                   Defendant.                      ) Judge: Hon. Kendall J. Newman
     ================================)
11
            IT IS HEREBY ORDERED that the pre-trial release conditions for defendant Leona
12
     Yeargin are modified in the following manner:
13
            “You shall participate in a program of medical or psychiatric treatment, including
14
     treatment for drug or alcohol dependency, as approved by the pretrial services officer. You shall
15
     pay all or part of the costs of the counseling services based upon your ability to pay, as
16
     determined by the pretrial services officer.”
17
            All other conditions of release remain in full force and effect.
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19   Dated: July 30, 2014
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